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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

In re: MOVEit Customer Data                                                      MDL No. 3083
Security Breach Litigation

                     NOTICE OF POTENTIAL TAG-ALONG ACTIONS

        In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, Defendants The Johns Hopkins University and The Johns
Hopkins Health System Corporation write to notify the Panel of the potential tag-along actions set
forth on the attached Schedule of Actions.

         The docket sheets and complaints for each of these actions are attached as Exhibits A, B,
and C.

Dated: October 13, 2023                                Respectfully submitted,

                                                       /s/ Aravind Swaminathan________
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